[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The court, having thoroughly and carefully reviewed the record in this case including the filed stipulation of facts and the Memorandum of Decision in Gus Woods v. Commissioner of Correction, CV99-587087, Judicial District of Hartford (Rittenband, JTR., 9/13/00), and the Memorandum of Decision in Michael Robinson v. Commissioner ofCorrection, Docket No. CV97-405187, Judicial District of New Haven (DeMayo, JTR., 9/22/00), appeal pending S.C. 16368, orders as follows:
Judgment shall enter for the petitioner based on the earlier decisions mentioned herein. It is therefore ordered that the petitioner's parole eligibility be determined based on the law in effect on the date of commission of his offense, on or about December 1994.
SO ORDERED.
Dated at Hartford, Connecticut this 22nd day of August, 2001.
By the Court,
Richard M. Rittenband Judge of the Superior Court